B23 (Official Form 23) (12/08)
                                                                  United States Bankruptcy Court
                                                                          Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                                Case No.   09-48174
                                                                                        Debtor(s)          Chapter    7



          DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                  COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

         Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file
this certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of
the following statements and file by the deadline stated below:

           I, Kevin Roland Iott , the debtor in the above-styled case, hereby certify that on May 1, 2009 , I completed an
instructional course in personal financial management provided by Consumer Credit Counseling Service , an approved
personal financial management provider.

             Certificate No. (if any): 02114-MIE-DE-006915914 .

           I,      , the debtor in the above-styled case, hereby certify that no personal financial management course is
required because of [Check the appropriate box.]:
               Incapacity or disability, as defined in 11 U.S.C.§ 109(h);
               Active military duty in a military combat zone; or
               Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
be required to complete such courses.

 Signature of Debtor: /s/ Kevin Roland Iott
                                     Kevin Roland Iott

 Date:        May 6, 2009



Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R.
Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
provider and do NOT include with the petition when filing your case.
Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of creditors under § 341 of
the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as required by the
plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P.
1007(c).)




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                            Certificate Number: 02114-MIE-DE-006915914
                                 Bankruptcy Case Number: 0948174

                        CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on 05/01/09, at 11:43 o'clock AM EST, Kevin R Iott completed a
course on personal financial management given by Internet by Consumer Credit
Counseling Service of Greater Atlanta, Inc., a provider approved pursuant to 11
U.S.C. § 111 to provide an instructional course concerning personal financial
management in the Eastern District Of Michigan.



Title:  Bankruptcy Program Director                                                         Date: 05.01.09
By: /s/Doug Erickson




                                                               Consumer Credit Counseling Service (CredAbility):
                                                                                         Phone: 866-672-2227
                                                                                       Email: info@cccsinc.org
                                                                            Website: www.cccsbankruptcy.org
                                                                                           Tax ID: XX-XXXXXXX




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B23 (Official Form 23) (12/08)
                                                                 United States Bankruptcy Court
                                                                          Eastern District of Michigan
             Kevin Roland Iott
 In re       Laura Sue Iott                                                                               Case No.   09-48174
                                                                                       Debtor(s)          Chapter    7



          DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                  COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

         Every individual debtor in a chapter 7, chapter 11 in which § 1141(d)(3) applies, or chapter 13 case must file
this certification. If a joint petition is filed, each spouse must complete and file a separate certification. Complete one of
the following statements and file by the deadline stated below:

           I, Laura Sue Iott , the debtor in the above-styled case, hereby certify that on May 1, 2009 , I completed an
instructional course in personal financial management provided by Consumer Credit Counseling Service , an approved
personal financial management provider.

             Certificate No. (if any): 02114-MIE-DE-006921681 .

           I,    , the debtor in the above-styled case, hereby certify that no personal financial management course is
required because of [Check the appropriate box.]:
               Incapacity or disability, as defined in 11 U.S.C.§ 109(h);
               Active military duty in a military combat zone; or
               Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
be required to complete such courses.

 Signature of Debtor: /s/ Laura Sue Iott
                                    Laura Sue Iott

 Date:        May 6, 2009



Instructions: Use this form only to certify whether you completed a course in personal financial management. (Fed. R.
Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
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                            Certificate Number: 02114-MIE-DE-006921681
                                 Bankruptcy Case Number: 0948174

                        CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on 05/01/09, at 02:17 o'clock PM EST, Laura S Iott completed a
course on personal financial management given by Internet by Consumer Credit
Counseling Service of Greater Atlanta, Inc., a provider approved pursuant to 11
U.S.C. § 111 to provide an instructional course concerning personal financial
management in the Eastern District Of Michigan.



Title:  Bankruptcy Program Director                                                         Date: 05.01.09
By: /s/Doug Erickson




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